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 7                             UNITED STATES DISTRICT COURT
 8                           SOUTHERN DISTRICT OF CALIFORNIA
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10    MARK CREIGHTON,                                    Case No.: 20cv243-TWR(KSC)
11                                Plaintiff,
                                                         ORDER FOLLOWING
12    v.                                                 TELEPHONIC DISCOVERY
                                                         CONFERENCE ON OCTOBER 2,
13    ALLSTATE NORTHBROOK
                                                         2020 RE: DEFENDANT’S REQUEST
      INDEMNITY COMPANY,
14                                                       FOR BILLING RATES AND POST-
                                   Defendant.            ARBITRATION MEDICAL
15
                                                         RECORDS
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17          On October 2, 2020, the Court held a Discovery Conference with counsel to
18   resolve discovery disputes on two issues. Although not requested or required, defendant
19   submitted a 5-page brief outlining the issues in dispute. Based on the arguments of
20   counsel and the brief submitted by defendant, IT IS HEREBY ORDERED THAT:
21          1.     Plaintiff’s counsel must produce, in summary form and by type of case, the
22   hourly rates his firm has charged to litigation clients from June 2017 to the present for the
23   following timekeepers: Randell Winet; Elisha Graham; Justina Lara; and Lindsey
24   Taylor. Because it is relevant to the issue of damages, this information satisfies the broad
25   relevance standard in Federal Rule 26(b)(1). When providing this information, it is not
26   necessary for plaintiff’s counsel to reveal client names. When damages are adjudicated,
27   plaintiff is, of course, entitled to present justification to the extent different rates are
28   charged for different clients and/or types of cases. If there are confidentiality concerns,

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 1   plaintiff’s counsel may produce this information subject to the Protective Order filed in
 2   this case on September 23, 2020. [Doc. No. 23.]
 3         2.     Plaintiff must produce or allow production of post-arbitration medical
 4   records for any treatment he has received for the injuries he sustained in the UIM
 5   accident that is the subject of the underlying insurance claim. Because these records are
 6   relevant, inter alia, to whether defendant reasonably investigated and evaluated plaintiff’s
 7   claim for UIM coverage, they satisfy the broad relevance standard in Federal Rule
 8   26(b)(1).
 9         To the extent the above-described documents have not already been disclosed, they
10   must be produced to defendant no later than ten (10) days after this Order is entered.
11         IT IS SO ORDERED.
12   Dated: October 19, 2020
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